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EXHIBIT D

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' , SS: ORlGlNAL
couNTY oF c 0 0 K )
_ IN THE uNITEn sTATEs DISTRICT couRT
FoR THE NoRTHERN DISTRICT oF ILLINOIS

EASTERN DIVISION

CHARLES BOYLE, )

Piaintiff, )

Vs. ) No. 09 C 1080
UNIVERSITY OF CHICAGO )

POLICE OFFICER LARRY TORRES, )
ET AL, )
Defendants. )

The discovery deposition of ARTHUR
GILLESPIE; taken in the above-entitied causel
before AngeTa C. Loisi, a notary pub]ic of Cook
county, liiinois, on the 251h day of November,
2009, at the hour of 1:16 p.m. at 222 North
LaSa]]e, Suite 300, Chicago, I]]inois, pursuant
to notice.

(Proceedings ended at
2:24'p.m.)
Reported by: Ange1a C. Loisi, CSR, RPR

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APPEARANCES:

ED FOX & ASSOCIATES

300 west Adams, suite 330
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(312)345-8877

BV: HR. JONATHAN KSIAZEK

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`BY: MR. STEVE PUISZIS

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BY: MS. HELEN GIBBONS

Representing the Chicago Po]ice

Officers, Dariing and Martin;

 

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WITNESS

I N D E X

ARTHUR GILLESPIE

By Mr.
By Ms.
By Mr.
By Mr.

By Mr.

NUHBER

 

Chicago, I11inois

Ksiazek
Gibbons
Puiszis
Ksiazek (further)

Puiszis (further)

E X H I B I T S

(No Exhibits Marked.)

EXAHINATION

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MARKED FOR ID

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(Whereupon, the witness was
duiy sworn.)
ARTHUR GILLESPIE,
Having been first du1y sworn, was examined and
testified as foi]ows:

EXAMINATION

BY NR. KSIAZEK:

Q. Can you p1ease state your name for the
courtl spe11ing the Tast for the record?
A. Sure. Arthur Gi11espie spe]]ed -- 1ast
name, G-I-L-L-E-S-P-I-E.
Q. Sure.
Officer Gi11espie, have you ever had
your deposition taken before?
A. No.
Q. Okay. I'm just going to exp]ain a few
ground ru1es about the deposition. -
My name is Jonathan Ksiazek, and I
represent the p1aintiff in this matter.

n Basica]iy we have you here today because
we're going to ask you some questions about an
incident that happened on OGtober 18, 2008. So
I'm going to ask you some questions.

If at any point you don‘t understand any

 

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of my questions, just go ahead and ask me to
rephrase or repeat the question, I wi11 go ahead
and do that for you, okay?

A. Yesr

0. But if you do answer my question, we
wi11 a11 assume that you did understand the
question and what I'm asking you, okay?

A. Okay._

Q. Great.

And when you do answer the questions,

make sure to answer out 10ud.
Uh-huh.`
Like you're doing, yes or no.
Yes, okay.

Instead of saying mm-hmm or nuh-huh.

_>z=>.>z=.>

0kay. ¥es.

Q. OKay. And if you ever need to take a
break at any point, just make sure that you give
an answer to my question before asking for a
break.

A. Yes, yes.

Q. And one other thing: In order for the
transcript to come out proper]y --

A. Uh-huh.

 

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Q. -- I wi11 do my best to not taik over
you, and I wouid just ask that you do the
same --

A. ¥es, sir.

O. -- so we don‘t taik over each otherl
okay?

lA. Yesl sir.

Q. And you rea1ize that you are under oath
today?

A. Yes.

_'Q. Okayi And did you review any documents
in preparation for your deposition today?

A; Just my interrogatories.

Q. Is there anything preventing you from
testifying truthfuiiy today?

A. No.

Q.- Okay. Just to ask you a few questions
about your educationai.background, where did you
go to schooi?

A. How far back do you want me to go?

Did you go to coiiege?

0

A. Yes.

0 Okay. Where did you go-to coiiege?
A _

Southern I11inois University.

 

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Q. And when did you graduate from
Southern --

A. I didn't.

Q. Okay. When was the 1ast time that you

attended coiiege of Southern liiinois

_University?

A. That wouid have been 1989.

-0 How many years did you attend Southern?

A I was there actuaiiy for four years.

Q. Okay. And what degree were you seeking?

A Communications.

Q. Qkay. Did you go to any other coiieges
besides Southern 111inois University?

A. I've done some coursework at Da]ey
Coiiege as weii.

0. When did you do that coursework?

A. Let's see. I'd say between 2006 and
2008.

0. And why were you taking those courses at
Daiey Coiiege?

A. working towards finishing up a 1aw
enforcement degree, two-year 1aw enforcement
degree.

Q. Do you have a 1aw enforcement degree

 

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today?

_A. No, not currentiy.

Q. Are you stili working towards iaw --

A. Yes. I am, yes.

Q. 0kay. Are you sti11 attending Daiey
Coi]ege or --

-A.l-Actua11y, I have one more course to
finish with them before obtaining that degree.
So I am iooking to try and match my schedule so
I can finish the course.

Q. Sure. How iong have you -- as of
today's date, how iong have you worked for the
University of Chicago Poiice Department?

A. As of today's datel just going to be
short of -- I'm sorry, two years. Two years in
February, so that's one year...

Q. One year and nine months?

A. Nine months yeahl right, yeah.

Q. And in October of 2008 how many months
have you been working for University of Chicago
Poiice Department?

A. At that time I beiieve just seven --

seven p1us months.

Q. 0kay.

 

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A. Between seven and eight months.

Q. Before working for the University of
Chicago Po]ice Department, have you ever worked
for any other po1ice departments?

A. No.

Q. What job did you hoid prior to working
for the University of Chicago?

A. Prior to the University of Chicago I
worked with the City of Chicago Department of
Aviatien.

_ Q. How iong did you work there for?

A. I worked there just about four years.

Q. 0kay. And what made you want to work
for the University of Chicago Poiice Department?

A. Excuse me. I've a1so wanted to work for
a poiice department. So I had an opportunity to
go to the poiice academy and seek certification
required to work for the university.

Q. 0kay. when did you go to the poiice
academy?

A. I was in the poiice academy in, 1et's
see, 0ctober of 2004.

Q. And then just to ciarify, you started in

February of 2007 with --

 

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A. University, yes, sir. February, 2007.

Q. 0kay. And what is your current rank
with the University of Chicago Poiice
Department?

A; Patr01 officer.

0. And you were a patro1 officer in October
of 2008 aiso?

A. Yesl I was.

0 How tai] are you, sir?

A. I'm 5'9".

0 0kay. _And how much do you weigh
current]y? -

A. Two twenty.

0. Did you weigh about 220 pounds in
OCtober of 2008?

A. About that, yes.

Q. 0kay; And how cid were you in OCtober
of 2008?

A. In October of 2008 I wou]d have been 42.

Q. 0kay. Do you remember what your
assignment was with the 6hicago Po]ice
Department in Dctober of 2008?

A.. I'm sorry, with the Chicago_Poiice

Department?

 

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_Q. I'm sorry, the University of Chicago
PoTice Department.`

A. I beiieve I was Beat 103, 103.

0. Actua11y one more question: Have you
ever served in the miiitary?

A. -No, I have not.- -

Q. -0kay. Beat 103. do you know what the
boundaries are for that beat?

A. Yesl I beiieve the boundaries of the
beat -- for the beat at that time were 55th
Street to 47th Street and Kenbark Avenue east to
Lake Shore Drive. n

0. 0kay. And what shift were you working
in -- I'm sorry --

A. I'm sorry, go ahead. go ahead.

Q. 0kay. What shift were you working in
October of 2008 with the University of Chicago
Po]ice Department?

A. I was working with the first watch.

Q. what were the hours that you were
working?

A. That wou1d have been between 23:00 or
11:00 p.m. midnight to, iet's say 23:00, 11:00

p.m. to 7:00 a.m., or sometimes it varied,

 

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12:00 midnight to 8:00 a.m.

Q. 0kay. Do you -- are you assigned to the
same beat, 103l current]y?

A. No, I'm not.

0. What beat are you currentiy assigned to?

A. Actualiy, I don‘t have a permanent
assigned beat. So I -- the beats rotate. They
vary. They rotate different assignments.

Q. So right now you're on a rotation?

A. Yes.

Q. Are you sti11 working the first watch
sh1ft? '

A. No, actuai]y I'm working -- we have had
some schedu]ing changes since that time.

I'm working mornings, which is actuaiiy
now considered to be the first watch. but the
time is going to be_different. -

And we're currently working 12-hour
shiftsl so I work from 7:00 a.m. to 7:00 p.m.

Q. 0kay. Were you driving a patrol car on
October 16, 2008?

A. Yesll I was.

Q. 0kay. Were you working with a partner

in October of 2008?

 

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A No, sir, I wasn't.

0 0kay. Was this a marked patr01 car?

A. Yes. it was.

0 And do you remember if on October 18,
2008, you were wearing a University of Chicago
uniform?

A1 Yesl sir, I was.

Q. Can you describe the uniform for me?

A. At that time it was a iight b1ue shirt,
dark, dark navy b1ue pants with a po1ice vest.
Po1ice Ve1croed on the back of the vest. Po]ice
star on the front of the vest}

Aiso a poiice hat with the university
po1ice, and the university's emb]em, that's itr

Q. 0kay. Now, at some point on October 18,
2008, did you have the occasion to arrive at
1435 East ssrd street?

A. -Yesl sir, I did.

0. 0kay. Do you know what -- about what
time you had -- you arrived at that 1ocation?

A. Not exactiy. It wouid -- I beiieve it
was between maybe 1:00 a.m., just after
1:00 a.m.g between 1:00 a.m. and 2:00 a.m.

0. 0kay. And do you remember receiving

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dispatch te]]ing you to go to that location?

A. No, I don't.

0. 0kay. How did you come to arrive at
1435 East 53rd Street on that evening?

A. 0kay. I overheard on the radio,
portab]e radio, what sounded to be an officer in
distress. There is a code that's used, 10-1,
and I heard 10-1. -

0. 0kay. Do you remember if it was the
dispatch that was saying 10-1, or do you
remember if it was the_actua1 officer saying
10-1?

A. I beiieve it was the officer that I
heard ca11ing_10-1.

Q. 0kay. And where were you when you heard
the officer ca11ing 10-1 over the radio?

A. I can't reca11 specifica11y where I was
at.

Q. Can you reca11 what you were doing when
you got this radio?

A. Just routine patroi, patroiling.
Specifica11y I was driving.

0. 0kay. Once you got this ca11 over the

radio for a 10-1 -- we11 actua11y, what did you

 

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understand a 10~1 to mean?

A. I understood that to mean that an
officer needed assistance, immediate assistance.

Q. 50 once you got this ca11, what did you
do?

n A. Excuse me. I attempted to -- my
goodness, excuse me. n
I attempted to respond to the 1ocation.
I beiieve I attempted to get ciarification from
the dispatch as to where the officer's last
location was.

0. Do you remember what you said to
dispatch to try and get c1arification?

A. I don‘t reca11, no.

0. Do you remember anything that dispatch
wouid have toid you in response for when you
asked for ciarification?

A. I beiieve at some point I heard the
address, which understandab]y, is the 53rd
Street address.

Q. 0kay. And once you received this 53rd

lStreet address, did you head over to that

iocation?

A. I did.

 

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0. 0kay. Do you know how iong it took you
from where you were 1ocated when you first
received the 10-1 radio and when you arrived at
53rd Street?

Do you know how iong it took you to-get
there?

A. Yeah. I cou1dn't say specifica]]y. I
guess it was probabiy between -- maybe one
minute, minute and a haif.

Q. 0kay. Do you remember what route you
took to get there?

A. No, I don‘t reca11 specifica11y what
route.

Q. And when you did arrive at 53rd Street,
what, if anything, did you see?

A. when I arrived -- excuse mel I observed

'two officers, what I beiieve -- I beiieve it was

two officers in the struggie with who I now know
10 be, 1 be11eve, Mr. seyie.

0. Mr. Boy]e.

A Mr. Boyie.

0. 0kay. ¥ou said you saw two officers?

A I believe it was two. I'm not for

certain.'

 

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0. Do you know how many poiice cars you saw
on the scene, whether University of Chicago or
Chicago Poiice Department, when you first
arrived?

A. Nol I can't say for certain. I be1ieve
I saw 0fficer Torres and 0fficer Hoore's.
vehic1ey I be1ieve they were riding together.

n But my attention was s01e1y focused on
the confrontation.

Q. Did you know when you first arrived at
the scene that it was Officer Torres and Officer.
Moorets vehicie?

A. Yes.

Q. 0kay. How did you know that?

A. They were -- I assume that because they
were -- they were on the scene -- on the scene
one -- other than those two on the scene, so I

assume that to be their vehic1e.

Q. 0kay. And you recognize them

immediately --
A. ¥es.
0. -- once you were --
A. Mm-hmm.

MR. PUISZIS: You have to make sure he

 

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finishes his question --

THE WITNESS: 0kay. I'm sorry.

MR. PUISZIS: -- before you answer.

THE WITNESS: 0kay. I'm sorry.

BY MR. KSIAZEK:

Q. Did you see a siTver Chrys1er vehic1e
iocated near where Officer Torres and Officer
Moore were?

A. No, sir, I don‘t reca11 seeing that.

Q. ¥ou said that Officer Torres and Officer
Moore were strugg]ing with 0fficer Boy]e?

A. That's what appeared to be the case to
mel yes.

-0. Can you describe how Officer Torres and
Moore were struggTing with Mr. Boyie?

A. There appeared to be thrashing, they
were attempting to handcuff, and I remember
_hearing: Stop resisting.

I observed Hr. Boy1e fighting, his arms
moving about attempting to push the officers
away from him.

Q. 0kay. When you first arrived on the

scene, where were Officer Moore and Officer

Torres.iocated in re1ation to_Mr. Boy]e?

1a

 

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A. I want to say they couid have been on
either side of him, one on his right and one on
his ieft, I beiieve.

Q. And what was Mr. Boy]e doing. if
anything, when Officer Torres and Officer Moore
were on his 1eft and right?

MR. PUISZIS: Objection, asked and answered,
but you can go ahead and answer again.

THE WITNESS: Again, I beiieve you wi11

see -- we11, he was thrashing. He was thrashing
about.

- He was -- his arms were moving. He was'
pushing. He was resisting being put -- having

his arms put behind him.
BY MR. KSIAZEK:

0. So when you saw Mr. Boy1e resisting and
having his arms thrashing and put behind him,
what, if anything, did you do at that point?

A.- I rushed over to their iocation to
provide assistance.

Q. Now, at this point when you first got
out of your car, what, if anything, did you know
besides the 10-1 that an officer needed

assistance?

 

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'A. I didn't know -- I didn't know if -- I
didn't know if they were strugg]ing for a
weapon. I didn't know -- I didn't know
anything.

0. 0kay. They were attempting to handcuff
him you said?

A. -Yes. I remember hearing: Piace your
arms behind you back, and stop resisting. And
so... ` l

0. Did -- when the officers -- actuaiiy,
who was saying put your arms behind your back,
was it Officer Torres or Officer Moore?

A. I heard stop resisting from, I be1ieve
1t te be beth of them at d1fferent peints.

0. Do you know who actua11y said it first?

A. No, I can't reca11.

0; 'Did Officer Torres and Officer Hoore
actua]]y have their handcuffs out?

A. I can't reca11 if I saw them at that
point.

Q. But they were trying to put his hands
behind his back?

A. Yes. they were.

Q. 0kay. And at what point did you

 

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actuai]y get out of your carl was it when his
hand -- were his hands aiready behind his back
when you got out of his car -- when you got out
of your car?

A. No, it was at the point that I saw them.
when I arrived on the scene I made visua1
contact with them. saw that they were thrashing
about. exited my vehicie and went over.

Q. And what did you do to he1p assist
Officer Torres and Officer Hoore? n

A. I made physica1 contact with the three
of them. I be]ieve at that-point we ai] three
fe11 to the ground.

0. 0kay, _when you say physica1 contact,
what exact1y do you mean?

A. weii, my hands actuaiiy touched
Mr. Boy]e in attempting to try to heip 0fficer
Torres and Officer Moore to get his arms in a
position that we cou1d put handcuffs on him.

`0. where on Hr. Boy1e's body did your hands
touch him?

A. I don‘t reca11 specificaiiy where.

0. Let me ask you this: was Hr. Boy1e

facing you as you approached him?

 

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A. I don't reca11.

Q. And do you know if Officer Moore and _
Officer Torres were facing you when you first
got out of your car?

A. No, they were facing him more so than
me.

Q. So were their backs to you?

A. No, I can't recaii that. I couid -- no,
no, I don‘t reca11 seeing the backs, no.

Q. 0kay. How did -- you said the three
of »- you made the contact with the three of
theml and a11 four of you went down to the
ground? -

A. Yes. I beiieve my momentum from running,
running over caused us to fa11 to the ground.

Q. And you had your hands out whi1e you
were running? l

A. Yes, yes, I did.

Q. Can you describe how -- and a11 four of
you fe11 to the ground, right?

A. ¥es.

0. 0kay. Can you describe how a11 four of
you fe11 to the ground?

I know you aiready testified that you

 

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were running and a11 of you sort of feii.

Can you sort of just te11 me how the
bodies fe11 onto the ground once you were a11
going down?

A.` ¥eah, I cou1dn't say for certain how we

' a11 fe11, what positions we were in at that

point.

I just -- yeah, I_just can't reca11
specifica11y where we were when we initia]iy
made contact with the ground.

Q. And you didn't have your handcuffs out
at this point or anything?

A. lNot at that point. no.

Q. what position did you find yourse1f in
once you were actua11y on the ground?

A. I was in a position where I was by
Mr. Boy1e's iegsi 1egs and_feet.

'0. And do you know how you ended up by
Mr. Boy1e‘s 1egs and feet?

A. Nol I can't say for certain. Just after
fa11ing, that's just where -- when I kind of
regained my sense of bearing that's where I
found myseif.

Q. Now, when you fe11, you've toid me that

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you saw a car that you thought was Officer
Torres and Officer Moore'sl right?

A. I beiieve I didl right, yes.

Q. when you fe11, do you know how far away
you were from 0fficer Torres and Officer Moore's
Car? l

A.- No, sir. I can't say for certainl no.'

Q. Do you know if you were ciose to any
other cars besides 0fficer Torres and Officer
Moore's car?

-A. Again, no. I can't say. 1 was just
more focused with trying to maintain contro1 of
the situation there.

Mr. Boy1e was fighting about pretty
extensive]y. So I was just trying to maintain
contr01 and heip out, bring some order to that
situation.

Q. where did you park your car in rejation
to Officer Torres and Officer Moore's car?

A. l beiieve I -- my part -- my vehicie
wou1d have been parked on 53rd Street. I can't
reca11 if I was just east or west of Biackstone,
but I was facing westbound.

Q. Do you know how far away you parked from

 

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0fficer Moore and 0fficer Torres' car?

A. No, I can't reca11.

Q. Did you park in an ang1e, or do you know
if you parked straight ahead?

A. I beiieve I -- I beiieve I parked
straight ahead,_possibiy aiong the curb.

Q. 0kay. So when ~- yourse]f is on the
ground -- when you're on the ground, where, if
you can remember, were.Officer Torres and
Officer hoore?

A. They werel in re1ation to me. more so
towards Mr. Boy1e's upper torso and his upper --
along his upper body.

Q. And once the four of you fe11 to the
groundl what, if anything. happened?

A. we continued to -- we11, I continued to
hear the orders to stop resisting, give me your
hands. _

They continued to struggie with him up
top. I -- we were trying to communicate with
each other to try to work in unison.

I made the decision to try and keep his
iegs sti]i, keep them from moving about.

0. 0kay. Going back to when you first

 

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arrived at the scene, did you hear Mr. Boyle say
anything to Officer Torres and Officer Moore?

A. I can't recall, no, no, I didn't.

Q. 0kay.' And when you fell to the groundl
did you hear Mr. Boyle say anything once all the
four of you fell, fell down?

A. No, I don‘t recall him saying anything.

0. 0kay. And when Officer Torres or
0fficer Hoore gave Mr. Boyle an order to stop
resisting, what, if anything -- and once you
were off the ground, what, if anything, did
Mr. Boyle do?

A. Initially while we were on the ground he
still continued to resist. They still struggled
to get him to comply with putting his arms
behind his back.

0. was he just resisting with his arms or
were -- -

A. No, he was resisting with his arms and
his legs.

Q. And when you said you were trying to
communicate with each other, Officer Torres and
0fficer Moore, what, if anything, were they

saying to you, or what were you saying to them?

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A. I heard the two of them maybe mention --
grabbed his arml grab his arm. I remember
saying 1 got his legs, I will hold his legs.

Q. Anything else?

A. No.

Q. 0kay. Did any of the University of
Chicago officers who were therel and yourself,
Officer Torres, 0fficer Moore, have their
handcuffs out at that point?

A. I don‘t recall. I can't recall. I
don‘t recall seeing anything specifically, the
handcuffs specifically;

Q. And while you were holding his legs.
what, if anything, happened?

A. well, while I was holding his legs. at
some point he kicked away, which actually kicked
and made contact with the right side of my face.

My glasses were thrown from my face.
broke the glasses, the frames were mangled and
the lenses popped out of them.

0. Do you know which foot they kicked you
with, was it the right or the left?

A. No, I couldn't say for certain.

Q. But he did make contact with the right 27 j

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side of your face?

A. Yes.

Q. And did you see how far your glasses
actually flew off your face?

At No, sir. l couldn't say for certain.

Q. were you actually injured as a result of
this kick?

A. well, I was hurt. I was -- just like
slight bruising. But I didn't think I required
medical attention._

Q. was this the only time that Mr. Boyle
kicked you?

A. Yes.

0. 0kay. And after your glasses had been
kicked off your facel what, if anything, did you
do?

A. well, from the force of a kick, I was
kind of thrown clear a little bit. -I re-engaged
et the iegs end eenttnued te try end heid him 1n
place while the officers up top attempted to
cuff him. handcuff him.

0. Now, at any point before your glasses
had been kicked off your face, did you see any

other University of Chicago officers on the

 

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scene?
A. I -- I can't say for certain who was
there other than Hoore and Torres at that point.
0. 0kay. So just to clarify, you think it

was yourself, Moore and Torres when you were

- kicked in the face?

A. I believe at that point, yes. ¥es,
that's what I believed at that point. I didn't
know if anyone else was there.

I d1dh't take my hands eff et -- er my
eyes, I should say. off of the area, the area I
was trying to control there.

And once my glasses were off, I just
really tried to focus on keeping his legs in
place.

Q. 0kay. Are you nearsighted or
farsighted? -

A.w I have to see things, have to be fairly
close.

0. Sure. So if your glasses got kicked off
your face, you can't see things far distances?

A. Far away, yes, sorry.

0. Now, what point did you first see other

University of-Chicago officers arrive?

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A. That would have been after Mr. Boyle was
handcuffed, and after I was able to disengage.

-Q. Did you see who actually did handcuff
Hr. Boyle?

A. No, I never did.

Q. But you didn't personally, right?

A. No, sir. I didnit.

Q. Do you know how many -- do you know if
it was one pair of handcuffs or two pairs of
handcuffs that were used on Hr. Boyle?

A. I couldn't say for certain, no, sir.

0. 016 you ever give officer Torres et
Officer Moore your pair of handcuffs to help
them --

A.‘ No, sir, 1 didn't.

Q. 0kay. So when -- after Mr. Boyle was
handcuffed, what, if anything, did you do?

A. Again, I disengaged. I was a bit
disoriented. I immediateiy started te ieek for
my glasses.

Q. 0kay. So Mr. Boyle was handcuffed.

Did they -- did Officer Moore and Torres
stand him up?

A. I know at some point he was stood up. l

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didn't actually see when that happened.

Q. was he stood up after you disengaged?

A. After I disengaged, yes.

Q. And what do you actually mean by
disengaged?

A. I took my hands off of him. There was
no need for me to try and maintain control of
him.

Q. 50 at that point was he not struggling
anymore?

h. At that_point he was not struggling
anymore, nos

Q. And when he was not struggling anymore,
was that when he was in the handcuffs?

A. I believe that because I remember
specifically hearing -- I believe hearing that
he was cuffed, and the.struggle stopped.

0. Do you know who actually said that
Mr. Boyle was cuffed? n

A. No, I cath say for-certain.

0. 0kay. Do you know if any other officers
besides yourself, Officer Torres and Officer

Moore helped to put Mr. Boyle into handcuffs?

A. I don‘t know for certain who actually

 

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cuffed him. No, I couldn't say for certain.
0. when you went to disengage and sort of

let go of Mr. Boyle, did you take a few steps

_away from Mr. Boyle?

A. Yeah, just a couple, maybe. I was still
actually on my knees, just kind of setback.

Q. So this whole time when you were trying
to hold his legs togetherl were you on your
knees the whole time?

A. Yes.

Q. 0kay. So when you say you fell to the
groundl you actually fell to your knees?

A. Yes.

Q. 0kay. Did -- how long were you
disoriented for?

A. Not longl just -- I mean, the initial
kick probably was more so --`I would say
probably -- you know, 30, 40 seconds.

0. And after you sort of got your bearings
beck s iittie bit. what, ii anything, did yeu de
at that point?

A.' well, once I finally recovered my
glasses and saw the condition they were inl I

believe I made contact via my radio with my

 

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watch commander.
I let him know l was going to have to
try and retrieve a spare pair of glasses.

Q. 0kay. where -- when you took a few
steps away were you by a curb at that point.
were you in the street?

A. I believe I was in the street.

Q. And where did you find your glasses?_

A. Not far from met maybe a foot, foot and
a half away from me. n

Q. was that in the street or was it on the
sidewalk?

A. It was in the street.

Q. You said they were in pieces?

A. The frames were mangled and the lenses
were detached from the frames.

0. 0kay. Can you, just to the best of what
you remember, can you describe how the frames
were mangled?

A. They were twisted, twisted completely
out of shape. Arms-were -- one of the arms were
almost broken, just kind of hanging by the
screw, I believe, at the hinge.

Q. 0kay. And the -- you said the glasses

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were out?

A. ¥es, both of the lenses were detached
from the frames.

0. You said both? _

A. Yes.

Q. 0kay. Do you know how -- so when you
went to pick it up, you had to pick up the frame
and then you picked up the two -- the lenses?

A. Yes.

Q. How far away from the actual frame were
the lenses located?`

MR. PUISZIS: Objection to relevance.

You can go ahead and answer the
question, if you remember.

THE wITNESS: I couldn‘t say for certain.
Maybe a few inches, not much.

BY HR. KSIAZEK:

0. Sure. Do you remember what you said to
dispatch about your glasses?

A. I believe I just -- my glasses were
broken.

0. Do you know whatl if anythingl dispatch
said to you in response?

A. Dispatch, nothing in response.

 

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Actually, I think l was talking to dispatch, so
I just communicated that to my lieutenant, my
watch commander.

Q. And who was your watch commander at that
time?

A. Lieutenant Stan white.

0. And did Lieutenant white say anything to
you?

A. I believe_he asked me if I had a spare,
or if l needed to go and get a spare, something
to that effect.

Q. 0kay. After you had this conversation,
what, ii anything, did you see that the other
officers were doing with Hr. Boyle?

A. I don‘t recall. I don‘t recall at that
point. I...

Q. Did -- was -- do you recall if any
Chicago Police Department officers were on the
scene at the point when you had this dispatch
conversation about your glasses?

A. At that point I do recall -- I believe
seeing some CP officers, Chicago Police
Department officers. -

0. 0kay. Do you know when these CPD '
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officers first arrived?

A. No, I couldn't say when they first
arrived.

0. was that the first time that you saw
them right as -- after you had this conversation
about your glasses? _

A. It was right -- it was after the

struggle. I can't recall if it was before

dispatch or after -- after my communication with
dispatch.
Q. Did you have any conversations -- or had

you had any conversations with dispatch prior to
talking to Lieutenant white about your glasses?

MR. Pulszls: You mean that night?

BY MR. KSIAZEK:

0. Yeah, I'm sorry. On October 18, 2008.

'MR. PUISZIS: well, I object because you --
I don‘t mean to be raising a speaking objection,
but we -- you asked previously about l
conversations he had with dispatch around the
time of the 10-1.

So I mean, I'm not sure. You got him

talking to dispatch then, and you've got him

talking to dispatch -- you know, about the ;
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glasses. I'm not sure what else you're looking
for.
BY MR. KSIAZEK:

Q. I am just asking if there is any other
conversations besides the 10-1; and when you
talked to dispatch about your glasses, did you
have any conversations with dispatch in between
those two conversations?

A. No, I don't believe so.

0. 0kay. 0kay. Did you see Mr. Boyle be
put into a Chicago Police Department vehicle?

A. No, sir, I didn't.

0. 0kay. -what, if anything, did you see
after you had this conversation with Mr. Boyle?

I'm sorry if I asked that already,
but..

A. I didn't see much. Actually, one side
disengaged, one side retrieved my broken
glasses. I then attempted to get back to my
vehicle.

0. How bad is your vision actually?

A. well, I don‘t believe it to be very bad.
1 couldn't say for certain as far as specifics.

Q. 0kay. Could you make out what was §
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actually happening at the scene?

A. Yes.

Q. 0kay. Did you eventually get back to
your vehicle?

A. ¥es.

0. And what did you do once you got back to
your vehicle?

A. I made the determination to go the short
distance to our police station.

0. 0kay. Can you drive without your
glasses?

A. I can.

Q. Did you have any conversations about
whether or not you could drive back to the
station without your glasses with any of the
other officers at-the scene?

` A. No, I didn't. I don‘t recall, I don‘t
beiieve 1 did.

Q. 0kay. Did you have any conversations
with any of the other officers at the scene,
whether it be University of Chicago officersl or
Chicago Police Department officers, before you
actually did leave the scene that night?

A. Actually, yeah. Before I left -- I

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don‘t recall who specifically -- I mean. I think
a couple of guys asked about my glasses, kind

of riving me about them being broken, but I
think that was just about it.

0. Did they say anything -- do you know who

actually was riving you about the glasses?

A. No, I couldn't say for certain. No, I
just don‘t recall for certain.

0. 0kay. And did you have any
conversations with any of these officers about
actually what happened in that incident on the
18th?

A. No, sir, no, not that -- no.

' 01 `Do you know how far it is from 53rd
Street where you were on 18th that night to --
back to university ai.chieage statian?

A. l could -- not for certain,
approximately maybe about four blocksl four or
five blocks, somewhere in that ballpark, four to
six.

Q. But right before you left, do you know
how many officers -- how many University of
Chicago officers were on.the scene?

A. I couldn't say for certain, no. The

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exact number, no.

0. But it's more than before, just yourself
and Torres and Moore?

A. I believe it was -- yeah. it was more
than the fourf I think some other responding
units may have come by;

Q. Do you know how many Chicago Police
Department officers, if any, were at the scene?

A. No, I couldn't say for certain, no.

0. 0kay. And once you got back to the

lstation, what did you do at that point?

A. I called home to have someone bring a
spare pair of glasses for me.

Q. 0kay. Did you talk to anyone at the
station about what -- when you first got back
and made that call about your glassesl did you
talk to anyone about what happened on 53rd
Street that night?

A. No, sir.

Q. Did -- at any point later that morning
did you have any conversations with Officer
Moore or 0fficer Torres about what actually
happened that night?l

.A. No, no. I think we may have generally §
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_Chicago Police Department on October 18, 2008?

 

just taiked about the inoident. The` iaot

that -- no, I'm sorryl we -- I don‘t recall. we
didn't say anything. we really didn't talk
about it.

Q.- 0kay. Did -- at any point later after
the 18th, did you have a conversation with
Officer hoore and Torres about it?

A. Just a general conversation in the --
when the court -- when they had to go -- the
court dates, and they had to go to court, but...

0. okay. And what, if ahythihg,' did they
say to you, or what did you say to them when
those court dates had come up?

- A. They would just say specifically -- they
would just say in general that -- when they had
to go to court. n

Never talked direct -- any detail about
the actual proceedings, just I am going to court
this day, or I am going to court for that
incident that happenedy and that didn't happen
back on the 18th, nothing more than that._

0. 0kay. At any point did you learn who

actually was present from the University of

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A. 1 beiieve' -- not nuntii the aotuai
paperwork from the reports. That's the only
time I really had an idea of who was all there.

0. Have you seen the police report that had
been prepared in this case?

4.l I don‘t think 1 iooked at our poiioe
report, our police report. I don‘t believe I
saw a police report. No, I didn't.

Q. But what do you mean the paperwork from
the reports?

A. well, I was speaking more so about the
paperwork that I received from Hr. Puiszis'
office.

0. The interrogatories?,

A. Right, exactly.

0. when -- after you got the 10-1 call and
headed toward 53rd Street, did you have your
patrol lights on?

A. Yes, I did.

0 And you -- did you have your sirens on?
A. Yes.
0 Did you ever take any pictures of your

broken glasses?

A. No, I haven't.
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1 Q. Do you still have your glasses that were
'2 broken?
3 A. No, I just replaced the model -- got the

4 old -- got a different pair.

5 Q. When did you replace the glasses?
6 A. I want to say it would have been on my
'? off_day. It may have been a day or two later.

_B I am not sure when I was off after that.

-9 probably within two to three days after.

10 Q. 0kay. Did you actually bring the

11 glasses into the eye place where you went?
12 A. Yes, I did.

13 Q. 0kay. And then did they throw the

14 _giasses away, or what did they do with them?
15 ` A. I'm not -- I can't say for certain what

_16 they did with them.

17 0 But you actually gave -4'
18 A. Ves.
19 Q Do you know what place it was?
20 A Pearle Vision, l believe. Pearle
n 21 Vision.
22 Q. 0kay. Do you know what town that was
23 in?
24 A. I believe Oak Lawnl I believe.

 

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Q. Do you know if anyone took any pictures
of the glasses?

A. No, I don't. I don‘t believe anyone
did, no.

Q. Do you know if any other University of

Chicago officers were hurt during that

altercation on the 18th?

_A. I believe Officer Gulersa (phonetic)
hurt his shoulder. I believe Officer Moore may
have hurt his wrist, but I don‘t know how severe
either injury was, or the extent of treatment
that they needed.

Q. 0kay. Did you actually see Officer
Moore hurt his wrist?

A. I didn't, no.

Q. Did you see Officer Gulersa hurt his

shoulder?
A. No.
Q. -Did -- while you were at the scene on

the 18th, did Officer Moore ever tell youl I
hurt my wrist?

A. He did not. no.

Q. And did Officer Gulersa ever tell you he

hurt his shoulder?

 

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A. He didn't ~- not -- no.

Q. Did you ever have any conversations with
Mr. Boyle besides what we've talked about
previously during that whole incident on the
18th?

A. No, sir.

Q. And have you ever had any complaints
filed against you in your duties as a Chicago.
police officer, besides what we're here for
today?

MR. PUISZIS: Objection, irrelevant.

Go ahead and answer the question.

THE wITNEss: Yeah, 1 beiieve there have
been two complaints that I know of, both have
been unsustained or unfounded.

BY MR. KSIAZEK:

Q. 0kay.. Do you know what the first
complaint was for? n

MR. PuIszIs: objectien, irreievent.

You can go ahead and answer the
question.

THE WITNESS: The first, I believe, was an

incident involving a disruptive person I was

working in the emergency room, University of

 

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22 '

Chicago Bernard Mitchell Hospital.

BY MR. KSIAZEK:

Do you know when this incident occurred?

Q
A. I can't recall specifically the date.

0 Do you know what year?

A I believe it was in 2007.

Q. And what happened with this disruptive
person at Bernard Mitchell Hospital?

A. I was attempting to escort her from the
emergency room and attempted to place her in
handcuffs, and I believe she complained about
her wrist hurting from being put in the
handcuffs.

Q. And there was an investigation that was
undertaken?

A. Yes. there was.

0. 0kay.' And you said that this wasn
unfounded?

A. Yes.

Q. Do you know when the second complaint
was filed against you?

MR. PUISZIS: Objection, irrelevant.

You can go ahead and answer it.

THE WITNESS: Not the Specific date, I

 

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1 _believe it was in 2008. No, no, sirl 2009.

2 BY MR. KSIAZEK:

3 Q. 0kay. Do you know when in 2009?

4 A. I want to say maybe September.

5 Q. 0kay. what happened in this complaint?
6 MR. PUISZIS: 0bjection, irrelevant.

7 You can go ahead and answer.

8 THE wITNESS:_ There was an incident with an
9 intoxicated student. And during our interaction

10 he used the "N" word.
11 He used "N" words directed towards me,
12 and I believe because our -- of our interaction

13 he -- I filed a report against him, and then he,

14 in turn, complained against me.
15 But he was expelled, and I wasl I
16 believe -- I was unfounded as well.

17 BY MR. KSIAZEK:

18 0. And so do you know what report did you
19 file against him? -
20 - A. I just documented ~- I just documented

21 the incident.

22 Q. 0kay.
23 A. A general case report.
24 _ Q. And this was a student you said?

 

 

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A. ¥es, at the time.

Q. Do you know when this complaint was
found to be sustained or unfounded?

A. I couldn't say the specific date.

MR. KSIAZEK: 0kay. I don‘t think I have

any other questions at this time.

Hs. eIBBoNs: 1 have just have a.few.
EXAMINATION
BY MS. GIBBONS:

Q. Officer Gillespie, just stepping back to
the incident itself, when do you first recall,
if at all, seeing the City of Chicago police
present on the scene?

A. Again, it was after I felt the situation
was...

THE COURT REPORTER: I'm sorry?

THE WITNESS: It was back when I -- when I
believed the situation was under control, and
after Mr. Beyie had been handcuffed.

BY MS. GIBBONS:

0. So it was after the struggle?

A. Yes. after the struggle.

Q. Mr. Boyle was handcuffed.

Was he.continuing to struggle at all at

 

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that point?

A. At that point. no.

Q. Do you recall approximately how many
City of Chicago police officers were present on
the scene?

A. I couldn't say for certain. l saw at
least, I believe maybe three officers.

Q. Do you recall seeing a Chicago police
officer in a white shirt or a sergeant on the
scene?

A. I believe I did at one point.

0. Do you know who any of the City of
Chicago police officers_were?

A. That were on the scene?

Q. Mm-hmm.

A. I know them by face more so than the
name.

Q. 0kay. And just to make sure I
understand, you don‘t recall seeing any City of
Chicago police officers while Mr. Boyle was

still struggling --

A. No.
01 -- with -- the --
A. No.

 

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0. -- University police?

A. I'm sorry.

Q. No. that's fine. Don't worry. And I
keep talking in and out. So that's fine.

l have no further questions1
_ EXAMINATION
sY MR. PuIszIs:

Q. How was the traffic during the early
morning hours when this incident happened?

A. Minimal, very light. _

Q. Had there been anything other than
_minimal traffic, would you have driven your
squad car back to the University of Chicago
after this incident, given the fact that your
glasses were broken?

A. _No, sir, I wouldn't have.

0. why not? n

A. I would have just probably preferred to

have someone take me just to avoid any problems.

01 If you would take off your glasses, how
far would I have to walk away, or how far could
you distinguish my face in terms of distance
from another person?

A. A pretty good distance. That's

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probably -- I estimate 20, maybe 15, 20 feet.

Q. 0kay. Now, do you recall seeing Golarza
at the scene at some point during the incident?

A. I do after -- after -- after the
struggle.

Q. 0kay. Do you know where he was while
the struggle was going on?

A. I couldn't say for certain. no.

0. 0kay. Do you know if he was
participating in the struggle?

A. No. I can't, I couldn't say for certain.

0. 0kay. By the way, did you ever hit
Charles Boyle?

A. No, I did note

0 Did you ever punch him?

A No. _

'0. Did you ever kick him?

A No.
0 Did you ever take out a flashlight and
hit him in the stomach? -
No, I did not.
Did you ever hit him with a baton?

No.

ease

Did you ever see any other officers do

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any of that?

A. I did not see that. no.

Q. By the way, you guys brought -- are
University of Chicago officers allowed to carry
the big cell flashlights?

A. No. sir. we're not.

Q. And you're not allowed to carry billy
clubs either, are you?

A. No, sir.

lQ. Did you see other car -- was there
another car parked on the street somewhere near
the officer's squad car?

I'm talking about Moore and Torres.

A; There was.

0. Do you recall what kind of vehicle that
was?

A. I couldn't say for certain, no.

Q. 0kay. Is it permissible or lawful to
resist any arrest?

A. Nol sir.

Q. So as far as your concern when you
arrived at the scene, you saw Mr. Boyle
resisting arrest, did you believe you had

probable cause to place him under arrest?

 

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1 MR. KSIAZEK: 0bjection;

2 BY MR. PUISZIS:

3 0. For resisted arrest, based on your years
4 of experience and training as-a Chicago police

5

officer.

6 MR. KSIAZEK: I will object for a legal
l lconclusion, but go ahead.

8 THE WlTNESS: Yes. sir.

9 MR. PUISZIS: Nothing further.

10 FURTHER EXAMINATION

11 BY MR. KSIAZEK:

12 Q. You do usually carry -- what do you

13 carry on your belt when you're on patrol?

14 A. I carry currently?

1`5 0. weii, in the october af 2008, excuse me.
16 A. 0kay. Then firearm, flashlight,

17 handcuffs, that's it.
18 0. Did you see any of the officers during
19 the struggle on the groundl did you see any of

20 them take out their flashlights?

21 A. I did nct, no.

22 Q. You were actually the reason why the
23 four of you all went to the groundl yourself,
24 Mr. Boyle, Officer Torres and 0fficer Hoore,

 

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right?
MS. GIBBONS: Objection, vague.
MR. PUISZIS: Calls for a conclusion.
You can go ahead and answer,_if you
'know.
THE_wITNESS: Possibly, I just can't say for

certain,

_ BY MR. KSIAZEK:

Q. 0kay. But you were running towards the
three of them?

A. I was running towards theml yes.

MR. KSIAZEK: I don‘t think I have anything
further.

FURTHER EXAMINATION

BY MR. PUISZIS:

0. Describe the flashlight for us that you
Carried in October of 2008? l

A. It's a plastic light, probably about
maybe 6 or 7 inches in length. Small --

0. That wouldn't extend very far above your
fistl would it?

A. Not very far at all.

Q. 0kay. Nothing further.

I'm sorry. you said it was plastic?

54:

 

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1 A. ¥es.

2 MR. PUISZIS: 0kay. Nothing further, we'll
3 reserve.

4 THE COURT REPORTER: would anyone like to
5 order?

;6 MR. KSIAZEK: I will let you know in a few
7 days.

8 * * 1 FURTHER DEPONENT SAITH NOT_* * *

 

 

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lso given by said witness as aforesaid.

 

STATE OF ILLINOIS )
l ) SS:
CDUNTY 0F COOK )

I,-ANGELA C. LOISI, CSR, RPR, a notary
public within and for the County of Cook County
and State of Illinois, do hereby certify that
heretofore, te-wit, en the 25th day of Nevember
2009, personally appeared before me at 222 North
LaSalle, Suite 300, Chicago, Illinois, ARTHUR

_ GILLESPIE, in a cause now pending and

undetermined in the Circuit Court of Cook County,
Illinois, wherein CHARLES BOYLE is the Plaintiff,
and UNIVERSIT¥.OF CHICAGO POLICE OFFICER LARRY
TORRES, ET AL is the Defendant.

I further certify that the said witness
was first duly sworn to testify the truth, the
wheie truth, and nothing but the truth in the
cause aforesaid; that the testimony then given by
said witness was reported stenographically by me
in the presence of the said witness,l and
afterwards reduced to typewriting by
Computer-Aided Transcription, and the foregoing

is a true and correct transcript of the testimony

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I further certify that the signature to
the foregoing deposition was not waived by
counsel for the respective parties.

I further certify that the taking of
this deposition was pursuant to Notice, and that
there were present at the deposition the
attorneys hereinbefore mentioned. d

I further certify that I am not counsel
for nor in any way related to the parties to this
suit, nor am I in any way interested in the
outcome thereof.

IN TESTIHONY wHEREOF: I have hereunto
set my hand and affixed my notarial seal this 5th

day of January, 2010.

 

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